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                              IN THE CIRCUIT COURT OF LEE COUNTY, MISSISSIPPI

                                                                         USDC No. 1:21cv43-SA-DAS
          ALLISON-GAIL SMITH,
          Individually and on Behalf
          of the Wrongful Death
          Beneficiaries of GRACE V ANDYGRJFF                                              PLAINTIFF

          v.                                                      CAUSE NO:     CV2.\-00C,\ff)L
          W ALMART, INC., REGIS CORPORATION
          d/b/a SMART STYLE SALON
          AND JOHN DOES 1-4                                                              DEFENDANTS


                                                      COMPLAINT

                  COMES NOW Plaintiff, by and through counsel, and for this her Complaint hereby sets forth

          the following:

                  1.       Plaintiff and her siblings, Jarret Vandygriff and Derrick Vandygriff, are the children

          of Grace Vandygriff and her sole wrongful death beneficiaries at the time of her death. Plaintiff is

          a resident in the State of Mississippi during all relevant times herein.

                 2.        Defendant Walmart, Inc., is a Delaware corporation which does business in

          Mississippi and operates Walmart store No: 258 in Tupelo, Mississippi. They may be served

          through their registered agent, CT Corporation System, 645 Lakeland East Drive, Suite 101,

          Flowood, MS 39232.

                 3.        Defendant Regis Corporation d/b/a SmartStyle, is a public place of business which

          rents space at the Walmart store in Tupelo, Mississippi, referenced in paragraph 2, above and may

          be served through its Registered Agent, National Registered Agents Inc., 645 Lakeland East Drive,

          Suite 101, Flowood, MS 39232.
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             4.      On or about January 28, 2018, Decedent Grace Vandygriff was an invitee guest of

     Walmart store and Smart Style located at 3929 North Gloster Street, Tupelo, Mississippi.

             5.      Upon information and belief, Smart Style rents space in the Walmart store to conduct

     ·business. Where the rental space ends and the Walmart space begins, is a change of floor type and

     style, and the seam was covered by a metal strip. The metal strip is designing to be flush with the

     floor on both sides of the seam. However, subject strip was not flush with the floor, and as a result,

     caught the Plaintiff's shoe, causing her to fall and be injured. This condition of not being flush with

     the floor is a dangerous condition that is controlled by either W a1mart or Smart Style. This condition

     is caused by wear over time and should have been remedied by either or both of the Defendants.

             6.      As a direct and proximate result of this dangerous condition, Grace Vandygriff

     suffered a broken hip and had to undergo surgery. Further, as a direct consequence of the fall and

     medical care for the injury caused by the fall, Decedent suffered a perforated gastric ulcer

     complication which resulted in sepsis and ultimately the Decedent's death on April 1, 2018.

             WHEREFORE, Plaintiff requests this .Court for a judgment in favor of the wrongful death

     beneficiaries of Grace Vandygriff for all damages allowed by law and statute, an any amount that's

     determined by a jury to be fair and reasonable for the pain and suffering of the Decedent, her

     disability, her loss of enjoyment oflife, and for consortium of her children, together with such other

     relief as this Court deems just and proper.

                                                              Respectfully submitted,

                                                              CHAPMAN, LEWIS & SWAN, PLLC
                                                              Attorneys for Plaintiff
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                                                              (662) 627-4105 (Telephone)
                                                              (662) 627-41           ier)




                                    PLAINTIFF DEMANDS TRIAL BY JURY
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